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                                                                                          FILED

                        IN THE UNITED STATES DISTRICT COURT                          OCT 2 2 2015
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division
                                                                                CLERK. US DISTRICT COURT
                                                                                      nohfolk. VA
KELSIE MCNAIR


                      Plaintiff,

                                                    Civil Action No.:                 ^



TARGET CORP.
and
WEIHAI LUDA CRAFT CO., LTD..

                      Defendants.
SERVE:        Target Corp.
              c/o CT Corporation Service
              4701 Cox Road, Suite 285
              Glen Allen, VA 23060

              Weihai Luda Craft Co. LTD.
              9F Mingzuo Mansion
              111 Haibin North Road, Weihai, Shandong
              China


                                        COMPLAINT

       COMES NOW Plaintiff, Kelsie McNair, by counsel, and for her Complaint, states as
follows:


                                      INTRODUCTION

1. This is an action in law and equity for copyright infringement under the Copyright Act of
   1976, 17 U.S.C. §101 et seq.

                               JURISDICTION AND VENUE

2. This is an action for copyright infringement under the Copyright Act of 1976, 17 U.S.C. §
   101 et seq. This Court has jurisdiction over the claims under 28 U.S.C. §1338(a) and
   pendant jurisdiction over the claims arising under state law pursuant to 28 U.S.C. §1338(b).
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3. This Court has personal jurisdiction over Target Corp. and Weihai Luda Craft Co. Ltd.,

     pursuant to Virginia Code Ann. § 8.01-328.1, by virtue of the fact that they: (1) regularly

     solicit business in this state; and (2) have committed a tortious act within the state by
     committing copyright infringement in this state.

4. Venue is proper in this District pursuant to 28 U.S.C. §1400(a) and 1391(b) and (c), as the

     Defendants are corporations subject to personal jurisdiction in this district and therefore

     reside here for the purposes of venue.

                                              PARTIES

5. Plaintiff Kelsie McNair ("McNair") is an individual residing in the City ofNorfolk, Virginia.
6. Defendant Target Corp. ("Target") is a corporation with its principle place ofbusiness in

     Minneapolis, Minnesota.

7. Defendant Weihai Luda Craft Co., Ltd. ("Weihai") is a corporation with its principle place of
     business in Shandong Province, China

                                   STATEMENT OF FACTS

8. Plaintiff McNair is an artist who creates mobile telephone covers decorated with specifically
     chosen flowers and plants in original arrangements. McNair sells her creations through
    electronic media and through brick-and-mortar stores.

9. Defendant Target is a retail company with physical store locations nationwide and through
    electronic media.

10. Weihai is an export company based in China who provides Target with Chinese
    manufactured goods to be sold in their stores and through electronic media.

11. McNair has created several mobile telephone designs including "Lemon and Honey" (An
    image of which is attached herein as Exhibit A) and a design entitled "Morning Dew" (An
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     image of which is attached herein as Exhibit B) as part of her collection.

12. McNair applied for copyright protection for "Lemon and Honey" in April 22, 2015 (A copy

     of that application is attached herein as Exhibit C). McNair applied for copyright protection

     for "Morning Dew" on May 20, 2015 (A copy of that application is attached herein as

     Exhibit D).

13. McNair began selling her floral designed mobile telephone covers in August of 2013 through

     her        web        site   withlavenderandlace.com   as     well   as   previously   through

     www.mooreaseal.com/collections/of-lavender-lace.            The works Lemon and Honey" and

     "Morning Dew" are available online through the internet and in physical retail stores, giving

     Target and Weihai opportunity to view and access the works.

14. McNair discovered a Target store located in Everett, Washington selling unauthorized copies

     of her artwork under the Target-owned brand "Merona."                 McNair also discovered

     unauthorized copies of her works being sold in Target stores under the Merona brand in

     Spotsylvania, Virginia, Virginia Beach, Virginia, and online at Target.com. (Attached as

     Exhibits E and F)

15. The floral mobile telephone covers sold by Target are substantially similar and infringing

     copies of McNair's works "Lemon and Honey" and "Morning Dew."

16. Weihai has and continues to import unauthorized copies of McNair's original designs for sale

     through Target's stores, both brick-and-mortar and online.

17. Both Target and Weihai knew or should have known that the Merona Mobile telephone

     covers are unauthorized copies McNair's works.
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                                             COUNTI


                                 COPYRIGHT INFRINGEMENT

18. Target and Weihai's acts as alleged constitute copyright infringement in violation of the

     Copyright Act of 1976, 17 U.S.C. § 101 et seq.

19. Target and Weihai have and, unless restrained by the Court, will continue to cause serious

     irreparable injury and damage to McNair.

20. McNair has no adequate remedy at law.

                                            COUNT II


                                  VICARIOUS INFRINGEMENT

21. McNair repeats and re-alleges each and every allegation of paragraphs 1 through 20 as

     though fully set forth herein.

22. Target and Weihai are vicariously liable for any and all infringement by Weihai as they
     profited directly from manufacturing the unauthorized copies of McNair's works and are able

    to supervise the manufacture of the infringing products.

23. McNair has been and will continue to be harmed by Defendant's infringing activities.

24. McNair has no adequate remedy at law.

                                             COUNT III


                              CONTRIBUTORY INFRINGEMENT

25. McNair repeats and re-alleges each and every allegation ofparagraphs 1through 23 as
    though fully set forth herein.

26. Target and Weihai are liable for any and all infringement as theyknew or should have known

    that the manufacture of unauthorized copies of McNair's works and either induced, caused,

    or materially contributed to the infringement.
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27. McNair has been and will continue tobe harmed by Defendant's infringing activities.

28. McNair has no adequate remedy at law.

                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiff prays for an Order of the Court:

29. Granting a preliminary and permanent injunction restraining Target and Weihai, its officers,

     directors, principals, agents, servants, employees, successors and assigns, and all individuals

     acting in concert or participation with it, from infringing Plaintiffs copyright.
30. Awarding Plaintiff a monetary judgment against Target and Weihai for Plaintiffs damages
     and Target and Weihai's profits in an amount not less than Three Hundred Thousand dollars

     ($300,000.00);

31. In the alternative, awarding Plaintiff statutory damages in the amount of One Hundred Fifty
     Thousand dollars ($150,000.00) for each infringement pursuant to 17 USC § 504(c) for a
     total of Three Hundred Thousand dollars ($300,000.00) for Target and Weihai's willful

     infringement of Plaintiff s original work.

32. Awarding Plaintiff her attorneys' fees, costs and disbursements incurred herein.

33. Awarding Plaintiff such other and further relief as the Court may deem just and proper.
34. Plaintiff demands trial by jury.

                                                               K^LSIE MCNAIR




                                                                      Of Counsel

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